                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                NORTHERN DIVISION

   -----------------------------------------------------
   COREEEN MARTIN,

                           Plaintiff,

           v.                                               Civil Action No.______________

   SHEPS AND ASSOCIATES,
   PLLC ATTORNEYS AT LAW, and
   CHECKREDI OF KENTUCKY, LLC

                            Defendants.
   ------------------------------------------------------

                                     NATURE OF ACTION

           1.      This is an action pursuant to the Fair Debt Collection Practices Act

   (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                JURISDICTION AND VENUE

           2.      This Court has jurisdiction over this matter pursuant to 15 U.S.C. §

   1692k(d) and 28 U.S.C. § 1331.

           3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),

   as the acts and transactions giving rise to Plaintiff’s action occurred in this district,

   where Plaintiff resides in this district, and Defendants transact business in this

   district.




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                                        PARTIES

          4.     Plaintiff Coreen Martin (“Plaintiff”) is a natural person who at all

   relevant times resided in the State of Tennessee, County of Knox, and City of

   Knoxville.

          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

          6.     Defendant Sheps and Associates, PLLC Attorneys at Law (“Sheps”),

   is an entity who at all relevant times was engaged, by use of the mails and

   telephone, in the business of attempting to collect a “debt” from Plaintiff, as

   defined by 15 U.S.C. § 1692a(5).

          7.     Sheps is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

          8.     Defendant Checkredi of Kentucky, LLC (“Checkredi”) is an entity

   who acquires debt in default solely for collection purposes, and who at all relevant

   times was engaged in the business of attempting to collect a debt from Plaintiff.

          9.     Checkredi is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                             FACTUAL ALLEGATIONS

          10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

   debt owed or due, or asserted to be owed or due a creditor other than Sheps.

          11.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted

   to be owed or due a creditor other than Sheps, arises from a transaction in which

   the money, property, insurance, or services that are the subject of the transaction

   were incurred primarily for personal, family, or household purposes.




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          12.    The alleged obligation arises from a returned personal check in the

   amount of $45.15, allegedly written on November 1, 2009 for the purchase of

   gasoline for Plaintiff’s personal vehicle (the “Debt”).

          13.    Sheps uses instrumentalities of interstate commerce or the mails in a

   business the principal purpose of which is the collection of any debts, and/or

   regularly collects or attempts to collect, directly or indirectly, debts owed or due,

   or asserted to be owed or due another.

          14.    Checkredi purchases debts once owed or once due, or asserted to be

   once owed or once due a creditor.

          15.    Specifically, Checkredi contracts with its customers, primarily

   merchants, to purchase checks returned for insufficient funds.

          16.    Upon purchasing a check, Checkredi attempts to collect the face

   value and a service fee from the check drawer.

          17.    Checkredi acquired the Debt after it went into default.

          18.    Checkredi is thoroughly enmeshed in the debt collection business,

   and Checkredi is a significant participant in Sheps’s debt collection process.

          19.    In connection with the collection of the Debt, Sheps, itself and on

   behalf of Checkredi, sent Plaintiff initial written communication dated May 3,

   2012, and in such communication, provided the notice, required by 15 U.S.C. §

   1692g et seq. on the reverse side of the communication. (See May 3, 2012

   Correspondence, attached hereto as Exhibit A).

          20.    Sheps’s May 3, 2012 initial communication stated, in relevant part:


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         Resolution Amount: $245.15
         Attention: COREEN MARTIN
                This Firm has been retained to resolve the abovementioned
         debt(s) and take all necessary steps in connection therewith. It is the
         Firm’s premise that the Uniform Commercial Code and/or state law
         allow for recovery of incidental and other costs.
                Be advised that you can make full payment with MoneyGram
         Express Payment Services, (see reverse side for instructions) money
         order or certified bank check payable to Sheps & Associates, PLLC.
         If this matter cannot be resolved this Firm will recommend
         CHECKredi Kentucky LLC, and/or PILOT OIL 217 to pursue
         further collection efforts.

   (Exhibit A).

         21.      Sheps’s May 3, 2012 communication was placed upon law firm

   letterhead and indicated that it was from Sheps’s “Settlement Department.”

   (Exhibit A).

         22.      On the reverse side of Sheps’s May 3, 2012 communication and

   immediately after the notices required by § 1692g et seq, Sheps stated: “At this

   time no attorney with this firm has personally reviewed the particular

   circumstance of your account.” (Exhibit A).

         23.      Sheps’s May 3, 2012 communication overshadowed the disclosures

   required pursuant to 15 U.S.C. § 1692g(a) et seq. by demanding “full payment”

   and threatening that “if this matter cannot be resolved this Firm will

   recommend…further collection efforts” within the thirty-day dispute period.

   (Exhibit A).




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          24.     The least sophisticated consumer would interpret Shep’s statement

   to mean that “further collection efforts” would take place within the thirty-day

   dispute period.

          25.     Further, Sheps’s May 3, 2012 communication falsely represented the

   level of attorney involvement in the collections process by providing a disclaimer

   that no attorney has reviewed Plaintiff’s account, yet the communication was

   placed on law firm letterhead, repeatedly referred to the “Firm” as having been

   retained to resolve the Debt, and indicated that the communication was from

   Sheps’s “Settlement Department.” (Exhibit A).

          26.     Further, in its May 3, 2012 initial written communication, Sheps

   failed to inform Plaintiff whether the Debt was subject to the accrual of interest

   and/or other fees or charges on the date the notice was sent. (See Exhibit A).

          27.     Upon information and good-faith belief, the Debt, at all times

   relevant, was accruing interest and other fees or charges.

          28.     Sheps’s May 3, 2012 communication is misleading to the “least

   sophisticated consumer,” who would readily conclude that the total account

   balance stated as due was due at any time, when in fact it was not, and was subject

   to adjustment on a periodic basis.

          29.     As a result, Sheps’s May 3, 2012 communication failed to clearly

   and effectively state the amount of the Debt as required by 15 U.S.C. §

   1692g(a)(1).




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            30.   Sheps’s omission of material information would deceive or mislead

   the least sophisticated consumer as to the character or amount of the Debt.

            31.   In the alternative, the Debt was not subject to the accrual of interest

   and/or other fees or charges and Sheps May 3, 2012 communication falsely

   represented the amount of the Debt as $245.15 when the actual balance of the

   Debt was $45.15.

            32.   On May 21, 2012 and in connection with the collection of the Debt,

   Sheps, by and through its agent and/or employee “Morris Ruben” (“Mr. Ruben”),

   placed a call to Plaintiff’s cellular telephone, and at such time, spoke with

   Plaintiff.

            33.   During the May 21, 2012 conversation, Mr. Ruben told Plaintiff that

   if Plaintiff did not respond by June 8, 2012, then Sheps would take Plaintiff to

   court.

            34.   During the May 21, 2012 conversation, Sheps threatened to take an

   action that was not intended to be taken, when upon information and good-faith

   belief, Sheps did not intend to take Plaintiff to court.

            35.   Plaintiff called Mr. Ruben on June 6, 2012, and requested to make

   payment arrangements in the amount of $40 per month.

            36.   During the June 6, 2012 conversation, Mr. Ruben rejected Plaintiff’s

   payment offer and told Plaintiff to borrow money from neighbors and relatives,

   and Plaintiff responded that she was on a fixed income and had no one to borrow

   money from.


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            37.   During the June 6, 2012 conversation, Mr. Ruben asked Plaintiff

   whether she thought that it was “ok to go around and write bad checks”.

            38.   Mr. Ruben then stated that the conversation was over and that Sheps

   was turning the matter to the courts on June 8, 2012.

            39.   During the June 6, 2012 conversation, Sheps used language the

   natural consequence of which is to abuse Plaintiff, in connection with collection of

   an alleged debt.

            40.   During the June 6, 2012 conversation, Sheps again threatened to take

   an action that was not intended to be taken, when upon information and good-faith

   belief, Sheps did not intend to take Plaintiff to the courts.

            41.   Plaintiff called the Knox County Clerk’s Office on September 9,

   2012 at 10:30 A.M., and at such time, spoke with “Shirley,” who confirmed with

   Plaintiff that at that time there were no current or pending lawsuits against

   Plaintiff.

                                   COUNT I
                         VIOLATION OF 15 U.S.C. § 1692d(2)
                              DEFENDANT SHEPS

            42.   Plaintiff repeats and re-alleges each and every allegation contained

   above.

            43.   Sheps violated 15 U.S.C. § 1692d(2) by using language the natural

   consequence of which is to abuse Plaintiff, in connection with collection of the

   Debt.

            WHEREFORE, Plaintiff prays for relief and judgment, as follows:


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                  a) Adjudging that Sheps violated 15 U.S.C. § 1692d(2);

                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                     1692k(a)(2)(A), in the amount of $1,000.00;

                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                     1692k(a)(1);

                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                     this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                     permissible by law; and

                  f) Awarding such other and further relief as the Court may deem just

                     and proper.

                                     COUNT II
                          VIOLATION OF 15 U.S.C. § 1692e(2)(A)
                                  DEFENDANT SHEPS

            44.      Plaintiff repeats and re-alleges each and every allegation contained

   above.

            45.      Sheps violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

   character, amount, or legal status of the Debt.

            WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                  a) Adjudging that Sheps violated 15 U.S.C. § 1692e(2)(A);

                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                     1692k(a)(2)(A), in the amount of $1,000.00;




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                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                     1692k(a)(1);

                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                     this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                     permissible by law; and

                  f) Awarding such other and further relief as the Court may deem just

                     and proper.

                                     COUNT III
                            VIOLATION OF 15 U.S.C. § 1692e(3)
                                 DEFENDANT SHEPS

            46.      Plaintiff repeats and re-alleges each and every allegation contained

   above.

            47.      Sheps violated 15 U.S.C. § 1692e(3) by falsely representing the level

   of attorney involvement in the collections process.

            WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                  a) Adjudging that Sheps violated 15 U.S.C. § 1692e(3);

                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                     1692k(a)(2)(A), in the amount of $1,000.00;

                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                     1692k(a)(1);

                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                     this action pursuant to 15 U.S.C. § 1692(k)(a)(3);


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                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.

                                      COUNT IV
                             VIOLATION OF 15 U.S.C. § 1692e(5)
                                  DEFENDANT SHEPS

             48.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             49.      Sheps violated 15 U.S.C. § 1692e(5) by threatening to take an action

    against Plaintiff that could be legally taken or that was not actually intended to be

    taken.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Sheps violated 15 U.S.C. § 1692e(5);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and




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                   f) Awarding such other and further relief as the Court may deem just

                      and proper.

                                      COUNT V
                            VIOLATION OF 15 U.S.C. § 1692e(10)
                                 DEFENDANT SHEPS

             50.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             51.      Sheps violated 15 U.S.C. § 1692e(10) by using false representations

    or deceptive practices in connection with the collection of an alleged debt,

    including, but not limited to: misrepresenting the amount and legal status of

    Plaintiff’s alleged debt; misrepresenting the level of attorney involvement in the

    collections process; and threatening to take Plaintiff to court, when upon

    information and good-faith belief, Sheps did not intend to take such action.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Sheps violated 15 U.S.C. § 1692e(10);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and


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                   f) Awarding such other and further relief as the Court may deem just

                      and proper.

                                     COUNT VI
                           VIOLATION OF 15 U.S.C. § 1692g(a)(1)
                                 DEFENDANT SHEPS

             52.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             53.      Sheps violated 15 U.S.C. § 1692g(a)(1) by failing to meaningfully

    convey the amount of the Debt to Plaintiff in its initial communication with

    Plaintiff or within five (5) days thereof.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Sheps violated 15 U.S.C. § 1692g(a)(1);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.




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                                      COUNT VII
                             VIOLATION OF 15 U.S.C. § 1692g(b)
                                  DEFENDANT SHEPS

             54.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             55.      Sheps violated 15 U.S.C. § 1692g(b) by overshadowing the

    disclosures required pursuant to 15 U.S.C. § 1692g(a) et seq., during the thirty-

    day dispute period.

             56.      Sheps violated 15 U.S.C. § 1692g(b) by making representations to

    Plaintiff during the 30-day dispute period that are inconsistent with the disclosures

    required by 15 USC § 1692g(a) et seq.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Sheps violated 15 U.S.C. § 1692g(b);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.


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                                     COUNT VIII
                             VIOLATION OF 15 U.S.C. § 1692d(2)
                                DEFENDANT CHECKREDI

             57.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             58.      Sheps violated 15 U.S.C. § 1692d(2) by using language the natural

    consequence of which is to abuse Plaintiff, in connection with collection of the

    Debt.

             59.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692d(2);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.


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                                     COUNT IX
                           VIOLATION OF 15 U.S.C. § 1692e(2)(A)
                               DEFENDANT CHECKREDI

             60.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             61.      Sheps violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

    character, amount, or legal status of the Debt.

             62.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692e(2)(A);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.




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                                      COUNT X
                             VIOLATION OF 15 U.S.C. § 1692e(3)
                                DEFENDANT CHECKREDI

             63.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             64.      Sheps violated 15 U.S.C. § 1692e(3) by falsely representing the level

    of attorney involvement in the collections process.

             65.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692e(3);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.




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                                      COUNT XI
                             VIOLATION OF 15 U.S.C. § 1692e(5)
                                DEFENDANT CHECKREDI

             66.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             67.      Sheps violated 15 U.S.C. § 1692e(5) by threatening to take an action

    against Plaintiff that could be legally taken or that was not actually intended to be

    taken.

             68.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692e(5);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.


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                                     COUNT XII
                            VIOLATION OF 15 U.S.C. § 1692e(10)
                               DEFENDANT CHECKREDI

             69.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             70.      Sheps violated 15 U.S.C. § 1692e(10) by using false representations

    or deceptive practices in connection with the collection of an alleged debt,

    including, but not limited to: misrepresenting the amount and legal status of

    Plaintiff’s alleged debt; misrepresenting the level of attorney involvement in the

    collections process; and threatening to take Plaintiff to court, when upon

    information and good-faith belief, Sheps did not intend to take such action.

             71.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692e(10);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as


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                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.

                                    COUNT XIII
                           VIOLATION OF 15 U.S.C. § 1692g(a)(1)
                               DEFENDANT CHECKREDI

             72.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             73.      Sheps violated 15 U.S.C. § 1692g(a)(1) by failing to meaningfully

    convey the amount of the Debt to Plaintiff in its initial communication with

    Plaintiff or within five (5) days thereof.

             74.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692g(a)(1);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);

                   d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                      this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                   e) Awarding Plaintiff any pre-judgment and post-judgment interest as


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                      permissible by law; and

                   f) Awarding such other and further relief as the Court may deem just

                      and proper.

                                     COUNT XIV
                             VIOLATION OF 15 U.S.C. § 1692g(b)
                                DEFENDANT CHECKREDI

             75.      Plaintiff repeats and re-alleges each and every allegation contained

    above.

             76.      Sheps violated 15 U.S.C. § 1692g(b) by overshadowing the

    disclosures required pursuant to 15 U.S.C. § 1692g(a) et seq., during the thirty-

    day dispute period.

             77.      Sheps violated 15 U.S.C. § 1692g(b) by making representations to

    Plaintiff during the 30-day dispute period that are inconsistent with the disclosures

    required by 15 USC § 1692g(a) et seq.

             78.      Checkredi, by virtue of its status as a “debt collector” under the

    FDCPA, is liable for actions of Sheps, the debt collector it hired to collect an

    alleged debt from Plaintiffs on its behalf.

             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   a) Adjudging that Checkredi violated 15 U.S.C. § 1692g(b);

                   b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A), in the amount of $1,000.00;

                   c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                      1692k(a)(1);


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                d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                   this action pursuant to 15 U.S.C. § 1692(k)(a)(3);

                e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                   permissible by law; and

                f) Awarding such other and further relief as the Court may deem just

                   and proper.

                                     TRIAL BY JURY

          79.      Plaintiff is entitled to and hereby demands a trial by jury.

    Dated: December 5, 2012

                                        Respectfully submitted,

                                        Coreen Martin

                                        By: /s/Craig J. Ehrlich
                                        Craig J. Ehrlich
                                        Attorney for Plaintiff
                                        Weisberg & Meyers, LLC
                                        1448 Madison Avenue
                                        Memphis, TN 38104
                                        Telephone: (602) 445 9819
                                        Facsimile: (866) 565 1327
                                        Email: CEhrlich@AttorneysForConsumers.com

                                  Please send correspondence to the address below

                                        Craig J. Ehrlich
                                        Weisberg & Meyers, LLC
                                        Attorneys for Plaintiff
                                        5025 N. Central Ave. #602
                                        Phoenix, AZ 85012




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